Case: 1:18-cv-02929-SO Doc #: 70 Filed: 12/05/23 1 of 1. PageID #: 759




                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION



TONYA CLAY, et al.,                            )      Case No.: 1:18 CV 2929
                                               )
       Plaintiffs                              )
                                               )
         v.                                    )      JUDGE SOLOMON OLIVER, JR.
                                               )
CUYAHOGA COUNTY, et al.,                       )
                                               )
       Defendants                              )      STATUS CONFERENCE ORDER



       The court held a telephonic status conference with counsel for the parties in the above-

captioned case on December 4, 2023, at 3:30 p.m. During the conference, the parties informed the

court that they are still on track to have a final settlement agreement, which they anticipate will be

presented to the County for approval at their second January meeting. The court hereby schedules

a telephonic status conference with counsel for the parties on January 31, 2024, at 3:30 p.m.

       IT IS SO ORDERED.


                                                      /s/ SOLOMON OLIVER, JR.
                                                      UNITED STATES DISTRICT JUDGE


December 5, 2023
